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            EXHIBIT 3
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                                                                                                       US007271813B2


c12)   United States Patent                                                        (IO) Patent No.:                     US 7,271,813 B2
       Gilbert                                                                     (45) Date of Patent:                            Sep.18,2007

(54)    ROTATIONAL DISPLAY SYSTEM                                                   4,631,848 A * 12/1986 Iwasa et al ................... 40/427
                                                                                    5,057,827 A * 10/1991 Nobile et al .................. 345/31
(75)    Inventor:    Mark Gilbert, Tuscaloosa, AL (US)                              6,072,386 A * 6/2000 Yu ............................. 340/432
                                                                                    6,492,963 Bl * 12/2002 Hoch .......................... 345/39
(73)    Assignee: Lightning Wheels, LLC, Palm Beach,                                6,575,585 B2    6/2003 Nelson et al.
                                                                                    6,856,303 B2 * 2/2005 Kowalewski ................ 345/31
                  FL (US)
                                                                                    7,079,042 B2 * 7/2006 Reim .................... 340/815.45
                                                                                2002/0133282 Al* 9/2002 Ryan et al. ................... 701/70
( *)    Notice:      Subject to any disclaimer, the term of this
                                                                                2004/0102223 Al     5/2004 Lo et al.
                     patent is extended or adjusted under 35                    2004/0105256 Al     6/2004 Jones
                     U.S.C. 154(b) by 61 days.
                                                                                                    OTHER PUBLICATIONS
(21)    Appl. No.: 11/187,625
                                                                               BigWheels.net-DUB Pimpstar [online] [retrieved on Feb. 22,
(22)    Filed:       Jul. 21, 2005                                             2007] http://www.bigwheels.net/promotion/pimpstar.htrnl.

(65)                   Prior Publication Data                                  * cited by examiner

        US 2006/0038831 Al            Feb. 23, 2006                           Primary Examiner-Kee M. Tung
                                                                              Assistant Examiner---Good-Johnson Motilewa
                 Related U.S. Application Data                                (74) Attorney, Agent, or Firm-McHale & Slavin, P.A.
(60)    Provisional application No. 60/589,651, filed on Jul.                  (57)                         ABSTRACT
        21, 2004.
                                                                              The present invention provides a system which integrates
(51)    Int. Cl.
                                                                              unique lighting technologies, switching systems, mounting
        G09G 5100                    (2006.01)
                                                                              systems, information delivery systems and power supply
(52)    U.S. Cl. ....................... 345/619; 345/649; 345/652
                                                                              systems within a vehicular wheel to provide an advanced,
(58)    Field of Classification Search ................ 345/619;              high quality visual display apparatus. These technologies,
                                                         340/815.4            and their many unique applications, provide for a novel and
        See application file for complete search history.                     useful series of video display devices that are small, light-
(56)                   References Cited                                       weight, efficient and have the capability of producing a clear,
                                                                              bright, high definition image that is equivalent to that of a
                  U.S. PATENT DOCUMENTS                                       modern day TV or high quality computer monitor.
       4,115,942 A *     9/1978 Sears .......................... 40/547
       4,338,547 A *     7/1982 Mccaslin ................... 315/312                            17 Claims, 11 Drawing Sheets


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                             FIGURE 1
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                               FIGURE 2
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                             FIGURE 3
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                           FIGURE 4
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      14
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           COMPUTER




                                          34



              ...
           BATTERY


                    32




                                       FIGURE 5
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       COMPUTER




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        BATTERY


              32




                                 FIGURE 6
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                                         FIGURE 8
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                               FIGURE 9
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                            FIGURE 10
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          ROTATIONAL DISPLAY SYSTEM                                 Jenkins in the United States, both of whom successfully
                                                                    demonstrated television systems using scanning disks in
               FIELD OF THE INVENTION                               1926. Such systems produced 60 to 100 scanned lines to
                                                                    provide recognizable black and white images that were high
   This application claims priority under 35 USC 119(e) to 5 quality by 1926 standards.
the Provisional Patent Application No. 60/589,651, filed Jul.          Research and development of video display systems that
21, 2004.                                                           employed rotating mechanical scanning came to a stop after
   This invention relates generally to automotive lighting          the nearly simultaneous invention of electronic scanning
systems. More specifically, the present invention relates to        systems by Philo T. Farnsworth in 1927 and by Vladimir K.
the display of visual images and/or display of visual infor- 10 Zworykin in 1928. Both the Farnsworth and the Zworykin
mation such as pictures, text and full motion video                 systems of the mid and late 1920's scanned an electron beam
sequences on the rotating wheels of a vehicle.                      back and forth across the inside of a glass cathode ray tube,
                                                                    striking a phosphorescent surface plane, causing images to
          BACKGROUND OF THE INVENTION                               appear on a glass picture tube. The electronic scanning
                                                                 15 picture tube designs developed by both inventors became the
   Numerous systems for producing visual images and dis-            foundations for the cathode ray tube that was further per-
playing visual information such as pictures, text and full          fected and marketed in the first home television receivers.
motion video sequences were developed over a century ago.           Significant picture tube improvements were developed by
One such technology developed utilizes rotating assemblies          Allen B. DuMont who increased the reliability, quality and
having intermittently illuminated elements to produce text or 20 display size of picture tubes during the 1930's. The same
basic shapes. The rotation, combined with rapidly changing          electron scanning technology has evolved into the high
illuminated segments produces a series of flashing frames           quality glass picture tubes that are still found in present day
that blend to form a recognizable image, or series of images.       color (picture tube type) televisions and computer monitors.
This effect is broadly known as persistence of vision and is           The aforementioned inception of electronic picture tubes
more specifically referred to as "scanning". In modern 25 during the late 1920's effectively signaled the end of
devices that utilize persistence of vision technology, elec-        mechanical rotating image display systems by the 1930's.
tronic information about an image to be displayed is used to        Early picture tubes were essentially sealed, low maintenance
synchronize the illumination of individual illuminating ele-        systems with no mechanical components. Such improve-
ments at specific positions during the rotation.                    ments rendered rotary image display systems obsolete. The
   There are generally two types of persistence of vision 30 illumination systems, propulsion means, synchronization
displays currently known in the art; cylindrical and planar.        circuits and power requirements of rotary mechanical visual
Acy lindrical display rotates an LED display in a manner that       display systems made them heavy, bulky, inefficient, unre-
creates images in a cylindrical manner, as if the images were       liable and of marginal value due to low video quality when
on the side of a soda can. A planar display rotates the LEDs        compared to cathode ray tube visual displays. Thus, cathode
so that they appear in a flat disk shaped area. Within the 35 ray tubes became the industry standard by the 1930's.
planar display, small bright illuminating elements are typi-        Consequently, rotational scanning technology as a means of
cally arranged along an elongated flat member. An axle is           image display had largely been forgotten until very recently
positioned at about the mid-point of the flat member, similar       with the implementation of a few new products, and with the
to an airplane propeller, and a motor is provided to rotate the     new technology disclosed herein. Several recent products
member at a relatively high speed. As the flat member 40 employ new uses and variations thereof based on illumi-
rotates, the blur perceived by the eye makes the rotating           nated rotational scanning display systems. Likewise, these
member appear to be a flat circle. This virtual circle formed       newer developments define a group of prior art that are
by the spinning member forms a visual image when color,             related to the new and useful invention described herein.
brightness and timing of the illuminating sections on the              One such prior art development is presented in U.S.
member are properly synchronized.                                45 Publication No. 2004/0102223 to Lo. Lo describes a rotating
   One of the earliest examples of image producing systems          LED device that receives data by infrared transmission and
that utilized a rotating member, a series of illuminating           then displays such data by synchronizing the illumination
devices and a system of synchronizing to display an image           display of a row of rotating LEDs. The device is specifically
was developed and patented by Paul Gottlieb Nipkow from             embodied as both a functional and ornamental device that is
Germany. Nipkows' system of receiving and reproducing 50 used to display incoming telephone caller numbers as a
images utilized a selenium photocell and a (rotating) scan-         caller ID apparatus, and further displays other alpha-nu-
ning disk. In order to capture an image, his early (1884)           meric information such as the time, date and a few pre-
system employed a scanning disk with a single row of holes          programmed seasonal greetings that are stored in the unit's
arranged so they spiraled inward toward the center of the           internal memory. Since the rotating member containing the
circle. The disk revolved in front of a light sensitive plate on 55 LED array must synchronize the display of information as
which a lens formed an image. Each hole passed across, or           rapidly as it rotates, Lo describes a system that transmits
"scanned" a ring shaped portion of the image. The holes             infrared signals to a rotating illuminating member, from an
traced contiguous concentric circles so that in one revolution      infrared transmitter located in the stationary base unit. This
of the disk, the entire image was scanned, converting a             effectively separates the actual rotating member and LED
visible image to a series of electrical signals. A similar 60 array from its support circuits that need not rotate in order
rotating disk system was used to reproduce the image that           to produce a visual image. The infrared system described
had been scanned. By rapidly switching a series of lights           provides a wireless path by which information to be dis-
aligned with the holes in the rotating disk, synchronized           played is beamed directly to a small infrared receiver that is
illumination passed through holes tracing an image with             part of the rotating display system. This design minimizes
many concentric circles of light.                                65 the amount of parts that must rotate, thus minimizing
   Similar systems that followed Nipkow's original designs          rotational mass, minimizing the weight of moving parts.
include developments by J. L. Baird in England and F.               However, because the device derives both a positional
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reference point and data concurrently as a predetermined            tain little or no parameters for user selectability, and are
point on the rotating arm passes the infrared sender, the           incapable of displaying life like color images or color full
amount of data that can be transferred is very limited.             motion video.
   Thus, La's device is limited to displaying alpha-numeric            Another device which employs rotational image display is
data, caller ID information, clock settings and a series of 5 the I-Top, a small, portable device for gaming and amuse-
pre-determined greetings through a telephone interface. La's        ment. The I-Top by Irwin Toys (I-Toys) is a pocket sized,
design does not disclose hardware, systems, methods or              battery operated spinning top with an integrated array of 8
other provisions capable of providing motion picture                LEDs. Using a button switch on the I-top, a user can select
sequences that are user selected, or supplied though an             from a series of pre-programmed games that are integral to
external source such as a digital media system, DVD, hard 10 the unit's controller. Once the user selects a game, then spins
drive or other data storage device. Moreover, like the other        the I-Top, the toy displays scores, messages and animations
existing prior art, the system is monochromatic, and thus has       through its array of LEDs that form a virtual screen while
support circuitry that limits data and image display through-       spinning. A stable display image is accomplished by using a
put to the monochromatic color output of the included               built in magnetic compass that always knows the instanta-
display devices. Even if the LED array disclosed on the 15 neous position of the top, and synchronizes the illumination
device were made multi colored for ornamental purposes,             display output flashes for each LED accordingly based on
the internal processing system is only designed to synchro-         rotational position.
nize the on/off LED array switching to display alpha                   Due to the compass based position sensor disposed inside
numeric data and a few low resolution symbols. Thus, its            the I-Top, the beginning point of any chain of words on the
hardware and software cannot support streaming color video 20 I-Top is always pointing to Earth's magnetic North. Hence,
to display life like color images or color full motion video        magnetic north is used as a reference for the LED synchro-
since the system is not wired and programmed to support             nization, and to calibrate in which direction or position the
true color synchronized switching or related data through-          output text should appear.
put.                                                                   While compass based positional synchronization works
                                                                 25 very well for devices which rotate in a horizontal plane, a
   Another spinning illuminated novelty device with syn-            traditional compass based system will not provide adequate
chronized light sources is described in U.S. Pat. No. 6,575,        positional synchronization for devices which rotate in ver-
585 to Nelson, et al. This system is essentially a small,           tical or near vertical planes. The internal compass can
portable, battery operated amusement device that spins an           become confused if the azimuth or angular orientation of its
array of lights. A small control circuit is located on the 30 intended operational plane is shifted to a degree at which it
rotating member, proximal to the light array. The control           cannot properly track the Earth's magnetic field. In addition,
circuit contains predetermined embedded ornamental pat-             proximity to various metals, magnetic fields, and radio
terns that cause the light array to illuminate in a predeter-       frequency interference from cellular phones, vehicle elec-
mined pattern, synchronous to their speed. This causes an           tronics and other high frequency sources also interferes with
ornamental lighted display of shapes, colors, images or text 35 compass function via direct magnetic field distortion or by
to appear, depending on the predetermined pattern data              subsequent inductive jamming of sensitive compass support
integral to the control circuit. The embodiment shown uses          circuitry. This confuses positional synchronization, and thus
a rotating contact system, such as a slip-ring style contact, to    would corrupt and distort the images output on the illumi-
directly energize a control circuit and lights on the moving        nated array, making the device unsuitable for use in con-
blades. This allows the stationary battery pack to directly 40 junction with vehicles and/or vehicle wheels.
connect its power wires to the illumination system and                 Other devices which utilize scanning technology may be
illumination control circuit on the moving rotor.                   found on the internet. These devices are commonly known
   Because the system described by Chernick is primarily            online as "propeller clocks." The name "propeller clock" is
designed to be a very affordable children's toy, it is not          a slang term that describes many persistence of vision
capable of the advanced requirements necessary to display 45 displays that arose as a niche hobby after Robert Blick
true color synchronized switching. The control circuit              created what is presumed to be the first persistence of vision
described is primarily a low cost pre-programmed device             LED display that displayed a clock face. The clock was
that displays a few visual patterns of varying colors. User         comprised of a rotating LED array that spun much like an
selectability of pre-programmed patterns is not present, to         airplane propeller, thus initiating the term "propeller clock"
keep production cost low, and minimize user interface parts. 50 that has become a generic name for many similar rotation-
Therefore, upon turning the toy on, illumination patterns are       ally scanned devices. More specifically, most of these
generated by the digital controller in a predetermined man-         devices take the form of a rotating array of LEDs, a motor
ner. The user does not select from predetermined groups of          system to power the rotation, a system of delivering power
images or messages to be displayed. Thus, the preferred             to the motor and rotating LEDs, and a system to synchro-
embodiment shows only a simple on/off hardwired switch as 55 nously energize the LEDs, thus allowing the rotating array
the only human interface device present.                            to visually display one or more desirable patterns.
   U.S. Publication No. 2004/0105256 to Jones discloses                In general, this body of prior art addresses and solves
virtual color generating windmills, decorative spinners, and        some of the technical challenges that surround all rotational
ornamental devices powered by solar or wind energy.                 displays. These technical challenges include construction of
Although very similar in ornamental value to the above 60 rotating displays, selection of appropriate high brightness
mentioned illuminating toy by Chernick, the windmills               LEDs for monochromatic displays, proper balance and
disclosed by Jones utilize wind or solar energy to power            vibration control of rotating displays, methods of delivering
integrated illumination systems that add to the visual interest     reliable electrical power to the rotating portion of displays,
of the windmill or similar outdoor ornament. In operation, as       methods and hardware for position sensing on the display,
the windmill turns, sets of small LEDs scan rotational 65 data delivery for displaying images on rotating arrays,
patterns of light creating an ornamental effect. While this         programmable integrated circuit (PIC) programming and
system employs rotational scanning, images displayed con-           related costs.
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   While all of the prior art devices are capable of providing      ducing a true color images that are substantially equivalent
relatively simple displays, none of the prior art devices are       to that of a modern day TV or high quality computer
capable of providing true color or streaming video. In              monitor.
addition, all of the prior art devices display images directly         It is yet another objective of the instant invention to
from their plane of rotation. That is, the devices twist the 5 provide a rotational display apparatus that is capable of
(normally horizontal) ground plane of the image or text             displaying both cylindrical and planar type displays in a
around the axis of rotation causing, text, numbers and              single apparatus.
animations to be displayed and scrolled in a circular pattern          It is a still further objective of the instant invention to
along an artificial bottom line. This causes the user to read       provide a rotational display apparatus which extends the
text that bends around the circle of rotation, as opposed to 10 illuminating elements to the center of the wheel to allow
across the circle of rotation. This design feature is common        center-crossing of images.
to the prior art and is a result of a not defining a real              Yet another objective of the instant invention is to provide
horizontal reference within the actual programming code,            a rotational display apparatus in combination with a vehicu-
data processes and internal feedback loops that process and         lar wheel capable of providing virtual headlight, tail light,
ultimately synchronize output data to illuminate sections of 15 brake light, and directional signals.
a rotational display. Not defining a real visual ground plane          Still yet another objective of the instant invention is to
reference for display purposes, and further not correlating a       provide a rotational display apparatus in combination with a
visual display ground plane with the horizon or actual              vehicular wheel capable of displaying text and images
ground, eliminates related programming complexities and             across a linear bottom line.
internal algorithms. The non-presence of this feature in the 20        Other objects and advantages of this invention will
prior art allows for the use of a simple, low cost micropro-        become apparent from the following description taken in
cessor controllers with limited complexity. However, the            conjunction with any accompanying drawings wherein are
devices can be difficult to read and render the possibility of      set forth, by way of illustration and example, certain
full motion video displays across the entire virtual disk           embodiments of this invention. Any drawings contained
impossible.                                                      25 herein constitute a part of this specification and include
   Still yet, the geometry of all prior planar display devices      exemplary embodiments of the present invention and illus-
have some object or component mounted at the center of the          trate various objects and features thereof.
circle of rotation that blocks the presence of illuminating
elements. Thus, the total display area that could potentially                    SUMMARY OF THE INVENTION
produce an illuminated image is hindered by a "hole" or 30
circular blank spot at the middle of the circle. This geometric        The present invention provides a system which integrates
limitation, which also applies to and is later addressed by the     unique lighting technologies, switching systems, mounting
invention disclosed herein, provides another reason why text        systems, information delivery systems and power supply
and images are displayed in a mamier to twist around the            systems within a vehicular wheel to provide an advanced,
center of rotation. Simply put, if the center does not have 35 high quality visual display apparatus. These technologies,
illumination hardware, any image progranmied to intersect           and their many unique applications, provide for a novel and
the center of the circle would not display properly.                useful  series of video display devices that are small, light-
                                                                    weight, efficient and have the capability of producing a clear,
   This same limitation also affected the quality of early
                                                                    bright, high definition image that is equivalent to that of a
scanning image systems, like those ofNipkow and Baird. It
                                                                 40 modern day TV or high quality computer monitor. Further
is also of importance to mention that the aforementioned
                                                                    applications of the disclosed technologies allow the instal-
display systems of the late 1800s and early 1900s, in many
                                                                    lation of compact rotary video displays in numerous appli-
cases, did not utilize the full optical range of their scamiing
                                                                    cations where rotating portions of machinery are equipped
disks for this very reason. Instead, a dark colored shield
                                                                    with the disclosed technologies to display visual images,
would cover most of the scanning disk displays, and a small
                                                                 45 videos and text while rotating. The compact, energy effi-
window cut in the shield would usually frame a small area
                                                                    cient, high optical quality technology disclosed herein is
toward the outside of the disk, where linear scamiing veloci-
                                                                    relatively inexpensive to mass produce and can be applied to
ties were the greatest. Through the window, a small portion
                                                                    many unusual locations. The primary application for rota-
of the scanning disk was visible, and the image or television
                                                                    tional scanning systems discussed herein is an electronically
program was synchronized to appear in this window. The
                                                                 50 controlled display system disposed upon or made integral to
dark colored shield that covered the majority of the scanning
                                                                    a motor vehicle wheel with both ornamental and functional
disk essentially prevented the observer from viewing areas
                                                                    applications.
that were optically distorted or incapable of displaying
                                                                       The system is preferably configured for connection to
visual imagery, as was the axis of rotation and the areas
                                                                    display information from a portable or stationary computing
proximal thereto.
                                                                 55 device that includes hardware and/or software, to provide,
   Further yet, the prior art does not disclose or suggest a        import, manipulate, store and selectively display visual
rotational display device which operates in conjunction with        information of the user's choice. Such devices may include,
a motor vehicle. Nor does the prior art disclose any of the         but should not be limited to, palm sized computing devices,
numerous variations and enhancements to wheel mounted               portable video game systems, laptop computers, cellular
display systems that are described herein in regards to the 60 phones, audio systems, navigation systems, vehicle electron-
present invention.                                                  ics, mobile video systems, multi-function displays or other
   Accordingly, it is a primary objective of the instant            devices that typically employ a visual display.
invention to provide a high quality rotational display appa-           The computing device transfers information regarding the
ratus in combination with a vehicular wheel to provide              data to be displayed to a rotatable assembly which includes
ornamental and functional displays.                              65 a controller and an illuminating assembly. The illuminating
   It is a further objective of the instant invention to provide    assembly includes a plurality of illuminating elements. The
a rotational display apparatus having the capability of pro-        illuminating elements are synchronized by the controller to
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light-up specific elements of the assembly at specific times        a vehicle during rotation thereof. It is important to note that
and/or positions during rotation. This causes the rotatable         the component description below is a general way to explain
assembly to display predetermined image(s), text, anima-            the system and its' basic components. Given modem tech-
tions or other visual information that is pre-loaded, pro-          nology, many or all of the components could be combined
grammed or otherwise provided to the controller from the 5 or split in many ways and thus should not be limited to the
computing device.                                                   specific component descriptions included herein. The gen-
   One embodiment of the device combines multiple syn-              eral components of the system include a computer 14, a
chronized illuminating assemblies that share a common axis          rotatable assembly 24, and a means of power delivery 20 to
of rotation, but are positioned at different angles with respect    the rotatable assembly.
to the axis, to provide more than one image plane or more 10           The computer 14 provides for storage and recall of images
than one angle or set of angles for light emission direction.       which are wirelessly transferred to the rotatable assembly 24
Such an arrangement, when synchronized to minimize inter-           which includes a controller 16 and an illuminating assembly
ference and separate images in a predetermined sequence,            18 (FIGS. 5-6). The computer 14 is a microprocessor type
provides a three dimensional image.                                 device that allows users to upload and store images, videos,
   In further embodiments the instant invention may be 15 logos, text, and the like by accepting various software file
utilized for use as a display system in rough service envi-         formats which may include, but should not be limited to:
ronments such as on helicopter main blades, tail rotors,            JPEG, BMP, AVI, Quicktime and the like. The computer
impellers, turbines, machine tools or rotating components in        may also accept popular hardware methods of transferring
manufacturing systems and engines.                                  stored digital information which may include, but should not
                                                                 20 be limited to: CDs, DVDs, various flash memory cards, USB
         BRIEF DESCRIPTION OF THE FIGURES                           ports, wireless connections, optical connections, IR ports
                                                                    and the like. The computer provides a high level of user
   FIG. 1 is a perspective view of a vehicle illustrating the       selectivity and may include enhancements such as touch
instant invention in operation upon a rotating motor vehicle        screens, digital pads, keyboards and suitable combinations
wheel;                                                           25 thereof, all well known in the art, which allow a user to
   FIG. 2 is a perspective view of the vehicle shown in FIG.        select which images or videos should be displayed on the
1 illustrating one embodiment of the instant invention uti-         rotational display system 12 during operation thereof.
lizing an LED illuminating assembly in conjunction with a              The computer 14 electrically communicates with the
motor vehicle wheel;                                                rotatable assembly via the controller 16. The controller is
   FIG. 3 is a perspective view of a motor vehicle wheel 30 preferably positioned within the rotatable assembly, illus-
illustrating one embodiment of the rotating assembly of the         trated herein as a motor vehicle wheel 26. The controller
instant invention for producing cylindrical or angular              includes circuitry suitable to accept communications from
images;                                                             the computer via radio, as shown in FIG. 5 or optical
   FIG. 4 is a perspective view of a motor vehicle wheel            transmission, as shown in FIG. 6. A most preferred embodi-
illustrating one embodiment of the instant invention utiliz- 35 ment utilizes wireless micro transmitters and receivers, these
ing and LCD illuminating assembly;                                  devices are readily available from Freescale Semiconductor
   FIG. 5 is a schematic of one embodiment of the instant           Inc. Of Austin, Tex. and include integrated circuits that can
invention;                                                          at least receive data from the computer as may be utilized to
   FIG. 6 is a schematic of one embodiment of the instant           provide two-way communication between the computer and
invention;                                                       40 the receiver. The controller also includes circuitry capable of
   FIG. 7 is a partial perspective view illustrating one means      synchronously illuminating the illuminating elements 22 of
for delivering power to the rotatable assembly;                     the illuminating assembly 18, thus producing a visual out-
   FIG. 8 is a partial perspective view illustrating one means      put. The specific hardware and/or software utilized within
for delivering power to the rotatable assembly;                     the controller will vary based upon the type, size and
   FIG. 9 is a partial perspective view illustrating one means 45 quantity of illuminating elements, as well as the rotational
for delivering power to the rotatable assembly;                     speed of the rotatable assembly, and the complexity of text,
   FIG. 10 is a broken partial perspective view illustrating        numbers, images or animations to be displayed through the
one means for delivering power to the rotatable assembly;           rotatable assembly 18. The primary job of the controller is
   FIG. 11 is a partial perspective view illustrating the motor     to receive information regarding the desired display from the
vehicle wheel of FIG. 3 in operation.                            50 computer and synchronously energize individual illuminat-
                                                                    ing elements, clusters or pixels within the illuminating
             DETAILED DESCRIPTION OF THE                            assembly 18 to produce one or more predetermined images.
                         INVENTION                                  In order to properly synchronize the illuminating elements
                                                                    22 for illumination at specific positions within the rotation of
   While the present invention is susceptible of embodiment 55 the illuminating assembly 18, the controller must know its
in various forms, there is shown in the drawings and will           position with respect to a predetermined point within the
hereinafter be described a presently preferred embodiment           rotation. Thus, the controller 16 includes a means of syn-
with the understanding that the present disclosure is to be         chronization that perceives the passing of one or more
considered an exemplification of the invention and is not           positions during rotation of the rotatable assembly 24. The
intended to limit the invention to the specific embodiments 60 simplicity, complexity or overall effectiveness of any posi-
illustrated.                                                        tion sensing apparatus within the controller may vary
   Referring to FIGS. 1-10, various embodiments of the              depending on the application. Examples of readily available
instant invention are illustrated as being incorporated into        position sensing devices include, but should not be limited
the wheels of a motor vehicle 10. In general, the disclosed         to: gyroscopes, magnetic sensors, Hall Effect sensors, lasers,
systems are rotational display systems 12 that display user 65 infrared devices, radio-frequency devices, optical/reflective
selectable visual information such as images, text, numbers,        tachometers, laser tachometers, mechanical position (rotary)
symbols, animations, videos and the like upon the wheel of          encoders, electromagnetic sensors, accelerometers, dis-
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placement sensors and suitable combinations thereof. In           mmiature, microscopic or molecular level, such as the
addition, Programmable Logic Control "PLC" technologies           illuminating elements or combinations of the illuminating
from various industrial automation systems, machinery and         elements described above.
robotics utilize numerous varieties of advanced, miniature,          Referring to FIGS. 5-10 various means of delivering
rugged, prograrmnable position sensing systems. These PLC 5 power 20 to the rotating assembly 24 are illustrated. Regard-
position sensing systems and components have become               less of the specific construction of the controller, position
standard, low cost, readily available and highly reliable         sensors, illuminating assemblies, interfaces, etc. there are
within industrial automation and manufacturing technolo-          many    alternative and viable options for power delivery
gies. Many miniature PLC components now feature sophis-           means that can provide adequate electrical power to the
                                                               10 rotatable assembly that may be partially present on the
ticated integrated memory and internal computing power
                                                                  moving (rotating) portion of the system. Batteries, solar
sufficient to integrate many functions such as computing,
                                                                  panels, rechargeable systems and hardwired systems that
control, sensing, feedback, programming and visual display
                                                                  employ slip-ring contacts or electrical commutator and
output on one single compact rugged electrical device that        brush assemblies are examples of some power delivery
can be programmed for unique applications. Computer 15 means that are well known in the art. Within the preferred
Programmable Logic Devices (CPLDs) and Field Program-             embodiment a split high frequency transformer 36 is uti-
mable Gate Arrays (FPGAs) such as those offered by Xilink         lized. In this embodiment, the primary coil 38, in electrical
and Altera semiconductor companies, both of San Jose,             communication with the vehicle battery, remains fixed to the
Calif., can be employed as sophisticated multi-input PLC          motor vehicle 10, and the secondary coil 40 is integrated into
position sensing and control systems. Similar miniature 20 the moving portion of the rotatable assembly 24, in this case
electronic hardware devices such as micro-scale radio trans-      the vehicle wheel 26. Other options may include various
mitters like those offered by Analog Devices Inc of Nor-          parasitic power generators that use micro magnetic assem-
wood, Mass., coupled with miniature multi-axis position           blies or piezo electric devices to produce power from
sensors such as those offered by Honeywell SSEC of Ply-           mechanical vibrations, harmonics or centrifugal forces (not
mouth, Minn. allow a suitable PLC system to utilize wireless 25 shown). Further systems could employ a generator located
technologies for the acquisition, processing and sharing of       inside a hub and axle assembly as shown in FIG. 10, or a free
position sensing data within a rotational display system.         spinning generator that uses a counterweight to stabilize one
Various PLC systems and components provide yet another            part of a free spinning generator while the other part rotates
option for reliable rotational display synchronization hard-      with a rotatable member connected to, or part of the illu-
                                                               30 minating assembly (much like a Rolex perpetual watch
ware that are rugged and designed to operate in a variety of
                                                                  winding mechanism that uses an internal rotatable counter-
physically and electrically demanding environments such as
                                                                  weight to self wind an energy storage spring, but on a larger
within the wheel of a motor vehicle. Such systems and
                                                                  scale and adapted to generate electric power).
associated sub components are available from Omron of
                                                                     Referring to FIG. 10, an alternative embodiment of the
Kyoto, Japan and Silicon Laboratories of Austin, Tex.          35 instant invention is illustrated wherein a portion of the motor
   The illuminating assembly 18 can have numerous inher-          vehicle's drive-line and/or suspension 30 (FIG. 7) is used to
ent variations in size, length and resolution (resolution or      transfer a magnetic field of a transformer from a fixed part
definition is the number of actively switchable or address-       of the motor vehicle to a secondary transformer coil 28 and
able illuminating elements per unit of area; the higher           subsequent power circuit integral to the rotating wheel.
number indicates that a higher quality image can be dis- 40 Within this embodiment the vehicle hub assembly, axle,
played). The illuminating assembly can also be made from          wheel bearings, etc. act as a ferrous core for an electrical
many different illuminating elements which may include,           transformer to deliver power to the rotating wheel assembly.
but should not be limited to: light emitting diodes (LEDs),          Referring to FIGS. 1-11, the specific applications and
organic light emitting diodes (OLEDs), electroluminescent         specific uses of the rotary display system ultimately deter-
strips (ELs), liquid crystal displays (LCDs), thin film tran- 45 mine which variations of many possible system architectures
sistor liquid crystal displays (TFTs ), plasma displays, small    will be employed. Likewise, the specific applications desired
light bulbs or suitable combinations thereof, and may be          by the user will determine what specific visual images, text,
used to form an appropriate display for predetermined             animations or combinations are to be displayed. Conse-
applications. Regardless of the type of light generating          quently, specific details of the user's application will also
instruments or apparatus used, individual elements of the 50 determine system parameters, such as what colors, bright-
illuminating assembly must be controllable to appropriately       ness, array size, array quantity, control systems, power
illuminate at predetermined positions during rotation, thus       supplies should be used to best match the display system
forming a predetermined image. Each choice of illuminating        design to its intended application. For example, as it is an
element has different characteristics, advantages and disad-      object of the instant invention to display life-like images on
vantages. LEDs for example, are bright, efficient and 55 a rotational display system without bending the horizontal
durable, and can be surface mounted on a thin PC board with       ground plane around the axis of the display system, it is
supporting electronic subsystems, all at a very low cost. A       necessary to understand the operation of the prior art sys-
strip of color LCDs, such as the material used on laptop          tems that wrap the horizontal plane around the axis of
computer screens, boasts very high resolution and the ability     rotation. Within the prior art images or text to be displayed
to display life-like portrait quality pictures while rotating. 60 are scanned or programmed in a linear manner, much like a
LCDs derive their active light emitting elements from the         desktop scarmer or photocopier moves a lighted bar across
controlled synchronization of individual pixels or groups of      an image using a flat rectangular surface plane. At each point
pixels that, viewed together, form an integral (somewhat          (pixel or dot) in the plane that contains the image or text to
virtual, software controlled) array of illuminating elements.     be displayed a digital processor assigns the corresponding X
Thus, the general definition of an illuminating assembly 18 65 and Y coordinates of each point converting it into a simple
is understood to apply to devices where light emitting            data chain ofX and Y coordinates. Essentially, the image to
elements 22 are connected and integral at a high density,         be displayed has each of its points graphed like it was to be
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reproduced on a rectangular, flat planar sheet of graph paper.    created. In application, it would be ideal to utilize micro
The data chain, like a bit map image, is then fed into the        sized tri-color LEDs due to their fast switching times, nearly
controller that illuminates the lighted portions of a rotating    instantaneous luminous rise and fall times, high brightness,
display.                                                          high efficiency and point-source geometry. Likewise, one
   Y represents the height position of a point to be displayed 5 slim rotating line of such tiny, tri-color high brightness
whereas X represents the horizontal position of a point to be     LEDs would effectively mix the primary colors at the same
displayed. Therefore, out of all XY coordinate pairs that         visual point, assuring that red, blue and green color output
form the image, the lowest Y coordinate is assigned to be         all occur at the same rotational angle. This would create a
displayed on the illuminating section closest to the axis of      low cost, high quality rotational output capable of true color
rotation and the highest Y coordinate is assigned to the 10 display.
illuminating section of the display that is closest to the           If separate red, blue and green illumination sections are
perimeter.                                                        located at different points on a rotational display, output
   The points on the X axis (that each pair with a respective     timing for each color must be appropriately shifted to
Y coordinate) are assigned to an arbitrary predetermined          maintain persistence of vision, by properly tricking the
starting and stopping point that correspond with one 360 15 human eye into perceiving that all three colors are appearing
degree rotation of the circular display system. In essence, the   to produce a seamless, true color image, by originating each
lowest X value is assigned to the degree position where the       of the primary colors from the same perceived location(s) in
image begins in the rotational sweep and the highest X            synchronous timing.
coordinate is assigned to the degree position where the              Take, for example, three sets of micro LEDs forming
image ends. In essence, an XY coordinate system is con- 20 addressable illumination lines extending from about the axis
verted to display Y coordinates (as illuminated sections)         to the perimeter of a rotational display system. The red LED
only after the X coordinate set has been converted to             line is arbitrarily located at the zero degree ( straight up)
represent angular positions on a circular system.                 position. The blue is at 10 degrees and the green is at 20
   This allows illuminating portions of the display that          degrees, respectively, proceeding clockwise around the
correspond to the Y coordinates to illuminate at the instant 25 circle. Due to the relative positions, the light discharge
that the illuminating display line crosses each point of          positions for each primary color would need to be shifted. In
rotation that corresponds to the matching X coordinate.           essence, the green bar would switch it's green segments on
   Likewise, this simple system easily converts text, images      t to represent a predetermined portion of an image to be
and other visuals to work properly on a rotational display by     displayed. We can call this arbitrary portion of an image
reassigning the X coordinate set to appropriate angular 30 "frame 1". So, the green bar would illuminate appropriate
positions on the circle, while allowing the Y coordinate set      sections correlated to frame 1 at the 20 degree position in the
to control which sections of the illuminating display are         rotation. However, the blue and red bards would have to wait
switched on or off, as it rotates past each point X. This also    until they are passing the 20 degree position to display their
allows for easy positioning and orientation of an image to be     luminous patterns associated with frame 1. In essence, the
displayed. For example, if a circle had its top most point 35 red bar would require a shift in it's X coordinate set to add
defined as zero degrees and its bottom most point defined at      20 degrees clockwise to it's luminous discharge timing for
180 degrees, assuming that the circular scanning display          each frame. The blue bar would require a 10 degree forward
apparatus moved in a clockwise direction, one could posi-         advance on luminous discharge timing. The green would
tion an image or text on the right half of the circle by          require a zero degree forward advance, meaning that the
defining the lowest X value as zero degrees and the highest 40 green has no shift in X coordinates (angular position) for a
X value at 180 degrees. If one wished to further compress         given frame; or simply put, the green becomes the arbitrary
the text or image into the upper right quarter of the circle,     reference point that the other colors are referenced against
one would assign the lowest X value to zero degrees and the       the coordinate timing.
highest X value to 90 degrees.                                       In order for any rotational display system, monochromatic
   This aforementioned example of how a display scrolls 45 or true color, to display an image across the entire circular
images and text around a circle is exemplary only for a           face of a rotational display apparatus, the X and Y coordi-
monochromatic system. If such a system were to have true          nates that define the image to be displayed in Cartesian terms
color display capacities, it would essentially be the exact       must simply be converted to polar coordinates. In short, any
same example, in triplicate with one chain of XY coordi-          Cartesian XY coordinate is subject to the Pythagorean
nates for each of the primary colors to be output to a true 50 theorem that models any XY coordinate as a triangle to
color capable display.                                            derive the hypotenuse, or the distances from the center of the
   In essence, the image to be scanned or digitally converted     circle. In this case, the hypotenuse for a particular coordinate
to binary data would be converted to XY coordinates just as       now defines the distances from the axis of rotation where a
described above, with one XY coordinate set for each color        point, pixel or LED must illuminate at a predetermined angle
to be electronically mixed. In essence, the three coordinate 55 to display a predetermined frame of visual output. The angle
data sets would be (Xred, Yred); (Xblue, Yblue) and               correlated to this distance is found by using the tangent
(Xgreen, Ygreen). Likewise three separate data sets would         function, thus indicating the numerical angle that would
have to be processed simultaneously in real time, fully           correlate the rotational position of the display. With the
synchronized, starting and ending at the same time without        rotation angle and distance form the center known for any
any relative processing delays between the red, blue or green 60 set of points that combine to define an image, it is possible
data sets.                                                        to display an image or text across the full face of the circle.
   Consequently, the hardware would have to support trip-         Likewise, any such image to be displayed should have it's
licate electronic processing of each set and the rotational       coordinate sets electronically stored in polar form.
display system would also require tri-color separately               It is also important to note that software or hardware used
addressable illumination sections to visually output the data. 65 to convert a Cartesian image to an identical image using
Although the electronic hardware and software is readily          polar coordinates should employ software or interfacing to
available to accomplish this, no such devices have yet been       properly center the zero point of the Cartesian system across
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the approximate center of the image before polar conversion.      can be made into a virtual supplemental headlight, fog light,
Failure to do this, depending on the specifics of the software    driving light or other street legal form of forward illumina-
developed for the rotational display, may cause an image to       tion. The same arrays that pass rearward facing directions as
display off center as a result of positive integer values for     the wheels rotate can be turned into virtual brake lights. The
any Cartesian XY coordinate set being converted to indicate 5 combination of various wheel mounted arrays and light
a polar coordinate image in only one quadrant of a circle.        clusters can be used as highly visible street legal directional
Likewise, both hardware and software interfaces should            signals with the use of standard DOT approved amber color.
have proper calibration features to properly center, tilt and     Likewise, sophisticated displays that utilize multiple illumi-
properly adjust any displayed images.                             nation assemblies, or ones directed at various angles may
   Consequently, the process by which to convert digital 10 require software such as a plug and play style driver that
images, text and full motion video to polar coordination for      identifies the wheel size, illuminating assembly positions,
full face rotational display is not difficult. It does however    illuminating element colors and multi-axis illuminating
require more computer programming, and subsequently               assembly angles to the control system in the vehicle to allow
more memory that an equivalent image that is displayed in         proper display synchronization to produce clear and prop-
wrap around mode as opposed to full face display mode. In 15 erly positioned images. Likewise, a multitude of software
addition, this mode is also capable of full color display if the  programs would provide a high degree of variety in selecting
same conversion and data processes are used for three             both functional and ornamental images for the vehicle
primary colors, as described prior to be output to a capable      wheels.
full color rotational display device.                                Since a traditional motor vehicle wheel or rim will not
   For example, a police vehicle 10 (FIG. 11) or ambulance 20 display an image while it is rotating, this is a limitation of
may use the rotational display 12 to say "police" in a            the disclosed invention. However, if one embodiment of the
forward and/or side direction or to serve as extra emergency      disclosed system utilizes the rims as directional signals, or
flashers. A large truck can display a "wide load" image on        hazard flashers, on board hardware or software could allow
the wheel display.                                                all appropriately colored LEDs to illuminate or flash appro-
   A passenger car or truck can use the display as a system 25 priately while the wheel is stopped, thus allowing an
of virtual brake lights, directional signals, extra headlights,   observer to see proper directional signals or hazard flashers
hazard flashers, etc. via a connection to the vehicle electric    disposed on the wheel. The stopped wheel would not be able
system. Such a system would use the vehicle's electric            to display a graphic while stopped (such as a picture of a
system to initiate the display of a flashing arrow image on       flashing yellow arrow indicating a directional signal). How-
the right wheels when the driver activates the right turn 30 ever, a wheel-at-stop default sequence could take advantage
signal.                                                           of all appropriately colored LEDs while the wheel is stopped
   FIGS. 3 and 11 show unique shaped rotational display           by using them for directionals or hazard lights.
systems that have illuminating element assemblies shaped to          One alternative embodiment of the instant invention uti-
allow virtual brake-lights that only shine backward from the      lizes motor vehicle wheels which include "Spinners." Spin-
rear wheels, virtual headlights that only shine forward, and 35 ners is a slang term for freewheel rotating ornaments that are
directional signals that are viewable from many angles.           added to vehicle rims such as those disclosed in U.S. Pat.
   All aspects of the above described rotational display          Nos. 5,290,094 and 6,663,187 the contents of which are
system can be manufactured with infinite variety. At the least    incorporated herein in their entirety. These ornaments are
expensive end of the spectrum of product offerings, an            typically placed on custom luxury cars and SUVs. They
aftermarket stick-on LED strip pre-programmed with a 40 allow a portion of the vehicle wheel to continue turning
graphic or ornamental design can be applied to a wheel with       while the car is temporarily stopped or slowed. A combina-
no user interface needed. An inexpensive stick-on thin PC         tion which includes spinners with the instant invention leads
board type car novelty could provide quick installation at        to a naturally advantageous combination. This would allow
low cost. A product one step higher may have a single color       the continuous use of rotational display system for videos or
or multicolor aftermarket LED display strip that can be 45 graphics such as logos, ornaments, directional signals, brake
attached to the wheel, with an inexpensive battery powered        lights, virtual headlights, etc.---even while the vehicle is
human interface (like a small "credit card" sized remote          stopped.
control, similar to remotes included with aftermarket car            As a variation of the above embodiment, the spinners may
stereos, located in the car) to select between a few pre-         further include activatable electric motors to rotate a portion
programmed graphics. More expensive models would pro- 50 of the rims while the car is stopped for extended periods of
gressively incorporate more sophisticated controllers with        time, thus allowing the rotational image display to run
more advanced connectivity to external software image             constantly for display purposes such as a car show. Embed-
sources. Likewise, more expensive systems would likely            ded software, related electrical power transmission hardware
incorporate brighter, higher resolution LED displays with         and data transmission hardware connected to the wheel
more substantial power delivery and data delivery systems at 55 display system can be used to monitor motor speed through
and around the vehicle wheel assemblies. The best quality         the rotational displays' position sensor(s) and synchroniza-
systems would support true-color capability or at least           tion circuit(s). Motor speed or power can be adjusted or
highly synchronized multi-color capabilities to display a         turned on/off via the controller in the vehicle. Synchroniza-
variety of images in life like color or near life like color. The tion circuits could monitor the differential rotational veloci-
most versatile variations of the product would have multiple 60 ties between the rotating wheel ornament and the vehicle
illuminating assemblies and LED clusters at various posi-         wheel thus adjusting motor speed to maintain full visual
tions on the wheel at one or more angles, and more complex        display capabilities throughout a range of vehicle speeds
software to support their proper light discharge timing. As       under predetermined conditions.
shown in the drawings, the LED arrays (or any light pro-             As a further variation of the above embodiment, a hub-
ducing arrays or clusters thereof) can be contoured and 65 less spinner connected to the outer perimeter or thereabout
positioned to project light from the rims in many specific        of the wheel could be utilized. These spinners would be
orientations. Light projecting toward the front of the vehicle    lighter in weight and less expensive than the present bulky
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ones. This embodiment could provide an option for sports             comprising computer program instructions constructed and
car/high performance enthusiasts who do not desire tradi-            arranged to allow an operator to import, manipulate, store
tional heavy spinners. However, a thin spinner "ring" with           and selectably display visual information of the operator's
a few LED clusters or a continuous circle LED array                  choice on said rotational assembly.
disposed around the ring would give a driver the ability to 5           3. The rotational display system of claim 1 wherein said
have wheel mounted virtual driving lights, brake lights,             computer includes a physical computer readable carrier
directional signals and hazard flashers ... but without the          constructed and arranged to allow an operator to import,
complexity of a larger spinner or a more complex wheel               manipulate, store and selectably display visual information
display system. This could be simple and utilitarian without         of the operator's choice on said rotational assembly.
the extra hardware or interfaces for uploading images. This 10          4. The rotational display system of claim 1 wherein said
would be more for the sports car enthusiast who wants the            rotatable assembly includes a controller for receiving wire-
virtual signals/brakes/headlights to work while the car is           less communications from said computer, said controller
stopped.                                                             constructed and arranged to control operation of said at least
   All patents and publications mentioned in this specifica-         one illuminating element of said illuminating assembly.
tion are indicative of the levels of those skilled in the art to 15     5. The rotational display system of claim 4 wherein said
which the invention pertains. All patents and publications           illuminating assembly includes a plurality of illuminating
are herein incorporated by reference to the same extent as if        elements, wherein each of said illuminating elements are
each individual publication was specifically and individually        individually controllable for illumination by said controller.
indicated to be incorporated by reference.                              6. The rotational display system of claim 5 wherein said
   It is to be understood that while a certain form of the 20 illuminating assembly includes illuminating elements which
invention is illustrated, it is not to be limited to the specific    include three primary colors red, green and blue, wherein
form or arrangement herein described and shown. It will be           said illuminating assembly is constructed and arranged to
apparent to those skilled in the art that various changes may        display true color.
be made without departing from the scope of the invention               7. The rotational display system of claim 5 wherein said
and the invention is not to be considered limited to what is 25 illuminating elements extend from about said axis of rota-
shown and described in the specification and any drawings/           tion to about the perimeter of said wheel, whereby visual
figures included herein.                                             displays may extend across a face of said wheel during
   One skilled in the art will readily appreciate that the           operation of said illuminating assembly.
present invention is well adapted to carry out the objectives           8. The rotational display system of claim 5 wherein said
and obtain the ends and advantages mentioned, as well as 30 plurality of illuminating elements are selected from the
those inherent therein. The embodiments, methods, proce-             group consisting of light emitting diodes, organic light
dures and techniques described herein are presently repre-           emitting diodes, electroluminescent strips, liquid crystal
sentative of the preferred embodiments, are intended to be           displays, thin film transistor liquid crystal displays, plasma
exemplary and are not intended as limitations on the scope.          displays, and small light bulbs.
Changes therein and other uses will occur to those skilled in 35
                                                                        9. The rotational display system of claim 4 wherein said
the art which are encompassed within the spirit of the
                                                                     rotatable assembly includes multiple illuminating assem-
invention and are defined by the scope of the appended
                                                                     blies that share a common axis of rotation, wherein each of
claims. Although the invention has been described in con-
                                                                     said illuminating assemblies are positioned at different
nection with specific preferred embodiments, it should be
                                                                     angles with respect to said axis of rotation to provide more
understood that the invention as claimed should not be 40
                                                                     than one image plane, wherein said controller is constructed
unduly limited to such specific embodiments. Indeed, vari-
                                                                     and arranged to synchronize images generated by said
ous modifications of the described modes for carrying out
                                                                     illuminating assembly in a predetermined sequence to pro-
the invention which are obvious to those skilled in the art are
                                                                     vide a three dimensional image.
intended to be within the scope of the following claims.
   What is claimed is:                                            45
                                                                        10. The rotational display system of claim 4 wherein said
   1. A rotational display system including:
                                                                     controller  includes circuitry constructed and arranged to
   a computer for operator controlled storage and recall of          synchronously illuminate said illuminating elements.
      images, said computer in wireless communication with              11. The rotational display system of claim 4 wherein said
      a rotatable assembly, said computer configured to              controller includes a means of synchronization, wherein said
      deliver instructions to said rotatable assembly regard- 50 means for synchronization is constructed and arranged to
      ing the display of at least one visual image so that said      determine the relative position of said rotatable assembly
      image is displayed on said rotatable assembly without          with  respect to a fixed position during rotation thereof.
      bending the horizontal ground plane around an axis of             12. The rotational display system of claim 11 wherein said
      rotation of said rotatable assembly;                           means of synchronization is selected from the group con-
   said rotatable assembly constructed and arranged to dis- 55 sisting of gyroscopes, magnetic sensors, Hall Effect sensors,
      play said at least one visual image transferred from said      lasers, infrared devices, radio-frequency devices, optical/
      computer, said rotatable assembly including an illumi-         reflective tachometers, laser tachometers, mechanical posi-
      nating assembly, wherein said illuminating assembly            tion (rotary) encoders, accelerometers, displacement sensors
      includes at least one illuminating element, wherein said       and electromagnetic sensors.
      rotatable assembly is constructed and arranged for 60             13. The rotational display system of claim 1 wherein said
      attachment to a wheel for rotation therewith, said wheel       rotatable assembly is constructed and arranged to display
      constructed and arranged for rotation about said axis of       planar images across the face of a motor vehicle wheel.
      rotation;                                                         14. The rotational display system of claim 1 wherein said
   wherein operator selectable images may be displayed               rotatable assembly is constructed and arranged to display
      during rotation of said wheel about said axis of rotation. 65 planar images across the face of said motor vehicle wheel
   2. The rotational display system of claim 1 wherein said          and cylindrical images around the perimeter of said motor
computer includes a tangible computer readable carrier               vehicle wheel.
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   15. The rotational display system of claim 1 wherein said         at least one illuminating element, wherein said rotat-
rotational display system is constructed and arranged to             able assembly is constructed and arranged for attach-
display streaming video.                                             ment to a wheel for rotation therewith, said wheel
   16. A rotational display system including:                        constructed and arranged for rotation about said axis of
   a computer for operator controlled storage and recall of 5        rotation;
      images, said computer in wireless communication with
                                                                   wherein operator selectable cylindrically shaped images
      a rotatable assembly, said computer configured to
                                                                     may be displayed during rotation of said wheel about
      deliver instructions to said rotatable assembly regard-
                                                                     said axis of rotation.
      ing the display of at least one visual image;
   said rotatable assembly including a substantially perpen- 10    17. The rotational display system of claim 16 wherein said
      dicular surface extending outwardly with respect to an    rotatable assembly is constructed and arranged to display
      outer face of said wheel, said rotatable assembly con-    said cylindrical images around the perimeter of said wheel,
      structed and arranged to display said at least one visual wherein said cylindrical image may be utilized for vehicular
      image transferred from said computer, said substan-       headlights, taillights, brake-lights, and directional signals.
      tially perpendicular surface including an illuminating 15
      assembly, wherein said illuminating assembly includes                             * * * * *
